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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 COMMONWEALTH OF PENNSYLVANIA, et al.,

                               Plaintiffs,

                        v.
                                                              No. 20-cv-1719
 MIGUEL CARDONA, in his official capacity as
 Secretary of Education, et al.,

                               Defendants.


                                   JOINT STATUS REPORT

       The parties respectfully submit this joint status report to inform the Court of the current

status of relevant new rulemaking by the Department of Education (“Department”).

       In the joint status report submitted June 5, 2023, the parties informed the Court that the

negotiated rulemaking process that addressed the possible need for new gainful employment

regulations had concluded without reaching a consensus and that the Department was in the

process of developing the regulations that will go through notice and comment rulemaking under

the Administrative Procedure Act. See Joint Status Report (ECF No. 52). On May 19, 2023, the

Department issued its proposed rule with comments due June 20, 2023. See Financial Value

Transparency and Gainful Employment (GE), Financial Responsibility, Administrative

Capability, Certification Procedure, Ability to Benefit (ATB), 88 CFR 32300 (May 19, 2023),

available at https://www.federalregister.gov/documents/2023/05/19/2023-09647/financial-value-

transparency-and-gainful-employment-ge-financial-responsibility-administrative.

       The Department has undertaken a review of the submitted comments, and that review

remains ongoing. In light of these ongoing developments, the parties respectfully ask that the Court
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keep the case in its current posture, with the Department’s pending motion to dismiss held in

abeyance and the parties ordered to submit a joint status report every 90 days.



 September 5, 2023                                 Respectfully submitted,

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